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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 AMERICA FIRST LEGAL
 FOUNDATION,

      Plaintiff,                                       No. 23-cv-0419 (CJN)

 v.

 UNITED STATES DEPARTMENT OF
 STATE,

      Defendant.


                                     JOINT STATUS REPORT

        Pursuant to the Court’s order dated May 2, 2023, the Plaintiff, American First Legal

Foundation, (‘AFL") and the Defendant, U.S. Department of State (“DOS”), by and through the

undersigned counsel, report to the Court as follows.

        1.         This action involves five Freedom of Information Act (“FOIA”) requests that are

attached as exhibits to the Complaint and that have been assigned the following numbers by

DOS: F-2021-08873, F-2022-00890, F-2022-06035, F-2022-06040, and F-2022-08578. DOS

answered the Complaint on March 24, 2023.

        2.         DOS made its first production on May 31, 2023, at the 400 page processing rate

directed by the Court, and has made further productions on June 30, 2023, July 31, 2023, August

31, 2023, September 29, 2023, October 31, 2023, November 30, 2023, December 29, 2023, and

February 2, 2024, consistent with that processing rate, and made a further production consistent
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with that processing rate on February 29, 2024, and April 4, 2024 (clearances on the March

production delayed its release until April 4, 2024). 1

       3.      The March delay has not impacted the DOS processing in April and DOS states

that it intends to make its next production on April 30, 2024. Defendant will continue providing

interim responses at the end of each month until processing is complete pursuant to the Court’s

minute order dated May 2, 2023.

       4.      As stated in a prior status report, by email dated October 5, 2023, Defendant

provided revised page estimates for each request and/or subparts of requests, which incorporated

narrowing efforts as of the date of that report, as well as State’s identification of what it

considers to be the relevant custodians. 2 Defendant continues to estimate that, for all requests

combined, there are approximately 50,000 pages remaining to be processed, of which

approximately half pertain to Request 08578. The parties will continue in their efforts to attempt

to further narrow the requests.

       5.      Pursuant to the Court’s order dated May 2, 2023, the parties will file a

further status report in 60 days.




1
        DOS states that the release for January 2024, which was made on February 2, 2024,
involved the processing of 384 pages, of which 377 pages were deemed non-responsive, three
pages were released in full and four pages were released in part. DOS states that the release for
February 2024, which was made on February 29, 2024, involved the processing of 393 pages, of
which 275 pages were deemed non-responsive, six pages were released in full and 112 pages
were released in part. Finally, DOS states that the release for March 2024, which was made on
April 4, 2024, involved the processing of 432 pages, of which 402 pages were deemed non-
responsive, two pages were withheld in full, and 28 pages were released in part. Accordingly,
the average number of potentially responsive records processed over these three months was
consistent with a 400 page-per-month processing rate.
2
       DOS states that it continues to reserve the right to challenge whether these requests
reasonably describe the records sought in the event the parties are not able to reach an agreement
on narrowing.
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                         Respectfully submitted,

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